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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

JOSEPH D.G. SIMPSON, et al., on behalf of             )
themselves and all others similarly situated,         )   Case No. 18-cv-553
                                                      )
                      Plaintiffs,                     )   Judge Sharon Johnson Coleman
                                                      )   Mag. J. Heather K. McShain
v.                                                    )
                                                      )
SHERIFF TOM DART, in his official capacity,           )
et al.                                                )
                                                      )
                      Defendants.                     )

                  PLAINTIFFS’ MEMORANDUM IN SUPPORT
                OF THEIR MOTION FOR CLASS CERTIFICATION

         This motion seeks to certify a class of African Americans who were rejected,

during the proposed class period, for positions as Correctional Officers with the

Cook County Sheriff’s Office (“CCSO”), as the result of a biased hiring process.

Throughout the class period, the Defendants—Thomas J. Dart in his official

capacity as the Cook County Sheriff and the Cook County Sheriff’s Merit Board (the

“Merit Board”) 1—relied on the same, centralized steps and process for screening

class members for positions as Correctional Officers (with changes to one of the

steps in 2016). And that process disqualified Black candidates four times more often

than it disqualified White candidates, a discrepancy of more than fourteen standard

deviations. (The Seventh Circuit has stated that a suspicion of discrimination is

triggered by disparities of two standard deviations or more. The disparities here are

far greater).


1        Cook County is a defendant solely as an indemnitor of both other defendants.


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      Evidence suggests the discrimination here was intentional. The Defendants

have known about: (a) dramatic decreases in the percentage of Black hires starting

no later than 2013, (b) the marked adverse impact of their hiring process on Black

candidates during the period from 2014-18, and (c) the absence of any evidence

establishing the validity of their process (that is, evidence that successful applicants

were demonstrably more likely to succeed on the job than rejected applicants). Yet

they chose to stick by their process. These are stark facts that “suggest a common

answer to the central question: why were African American laborers disfavored?”

Zollicoffer, v. Gold Standard, Baking, Inc., 335 F.R.D. 126, 155 (N.D. Ill. 2020).

     On these facts, at least four questions cry out for classwide adjudication—that

will be much more efficiently resolved once, for all class members, than in separate

individual proceedings (leading to potentially inconsistent outcomes). These

common, classwide questions are:

      The Defendants’ motives and intent: Did the Defendants choose, or
      have they chosen to stick with, their hiring process because of its
      adverse impact against Black applicants?

      Disparate impact: Do the data establish that Black candidates are
      rejected at significantly higher rates than White candidates?

      Validity (or job relatedness): Is the Defendants’ hiring process job
      related and consistent with business necessity, notwithstanding its
      adverse impact against Black applicants? And,

      The availability of lesser discriminatory alternatives: Are there
      alternative hiring processes of substantially equal or greater
      validity that will cause less disparate impact?




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For purposes of adjudicating these questions, the Court should certify, under Fed.

R. Civ. Proc. 23(b)(3), the following class:

      All Black applicants for Correctional Officer positions at the Cook County
      Department of Corrections filled on or after March 1, 2015 who were
      disqualified at one of the following five steps in the hiring process: the first
      written test, the physical fitness test, the second written test, the Merit
      Board final review, or the CCSO polygraph/administrative review.

                           II. FACTUAL BACKGROUND

      The following are material facts bearing on class certification.

     1.   Between 2014 and 2018, more than 5,500 candidates were considered for

positions as Correctional Officers. Ex. A (Scherbaum Report) at 21. Black

candidates far outnumbered White candidates (2,124 Black to 1,255 White). Id.

However, Defendants selected about 2.5 times as many White candidates as Black

candidates (261 White to 106 Black). Id. Put differently, a White applicant was four

times as likely to be hired as a Black applicant. Id. at 10, 21.

     2.   The Seventh Circuit has said that a difference between the expected and

observed minority hires of two standard deviations 2 is enough to give rise to a

reasonable inference that the hiring was not race-neutral. Adams v. Ameritech

Servs., Inc., 231 F.3d 414, 424 (7th Cir. 2000); see also Hazelwood Sch. Dist. v.

United States, 433 U.S. 299, 308 n.14 (1977) (stating that a difference of greater

than two or three standard deviations “would be suspect”). In this case, by contrast,




      2 Standard deviation measures how far a number is from the expected norm or
average value. See Adams, 231 F.3d at 424.


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the disparity between Black and White hire rates is 14 standard deviations, Ex. A

(Scherbaum Rep.) at 22, which far exceeds the Seventh Circuit’s threshold.

     3.   The hiring process is centralized and administered, jointly, by the CCSO

and by the Merit Board. The process proceeds in 14 steps, seven administered by

the Merit Board and seven by the CCSO.

     4.   The Merit Board conducts the initial review of candidates by

administering: (1) an application screening for minimum qualifications (e.g. a high

school diploma or GED); (2) a first written test consisting of 200 multiple

choice questions; (3) a second written test consisting of 30 multiple choice

questions; (4) a physical ability test; (5) fingerprinting and a drug test; (6)

submission of a personal history questionnaire and interview with a background

investigator; and (7) review by the Merit Board. Ex. B (Decl. of Rosemarie

Nolan); Ex. C (Deposition of Rosemarie Nolan) at 53-55, 62-63.

     5.   Following the Merit Board’s review, candidates “certified” by the Merit

Board as “eligible” move forward to the next steps of the hiring process, conducted

by the CCSO, which administers: (8) a polygraph examination and

“administrative” or “file” review; (9) a panel interview; (10) a background check;

(11) selection for the Sheriff’s Training Institute; (12) orientation for the Sheriff’s

Training Institute; (13) offer of employment; and finally (14) hiring. Ex. D (Dep. of

Matthew Burke) at 94:6-97:10; Ex. E (SEAM Article A (1/27/17 Revision)) at 4-7; Ex.

F (SEAM Article A (4/17/2014 Revision)).




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     6.   Plaintiffs’ claims of discrimination in this case center on five of the steps

in the Defendants’ hiring process (each bolded in paragraphs 4 and 5 above),

specifically: the first written test (step 2), the second written test (step 3), the

physical fitness test (step 4), a final review of surviving candidates conducted by the

Merit Board (step 7), and a polygraph examination and “administrative” or “file”

review conducted by CCSO (step 8). About 99% of the Black candidates rejected

during the hiring process are rejected at one of these five steps. To the extent that

there are racial disparities in selection rates at these five steps, there are racial

disparities in selection rates for the hiring process as a whole.

     7. The first written test is a 200-question, multiple choice test known as the

National Criminal Justice Officer Selection Inventory Test (“NCJOSI”). Ex. B

(Nolan Decl.) ¶ 3. The test was created by a private company, Industrial

Organizational Solutions (“IOS”). Ex. C (Dep. of Rosemarie Nolan) at 39:22-40:2-16;

Ex. G (County contract with IOS). Candidates must achieve a threshold score to

continue forward in the hiring process. Id. Between 2014 and 2018, 36% of Black

candidates were rejected at this step, compared to 21% of White candidates. Ex. A

(Scherbaum Rep.) at 23, 27. The disparity is measured by over 12 standard

deviations, far in excess of the two standard deviation threshold. Id. at 25-26.

     8.   The second written test is a 30-question Situation Based Styles

Assessment for Law Enforcement, also created by IOS. Ex. B (Nolan Decl.) ¶ 4; Ex.

C (Nolan Dep.) at 40:22-41:9; Ex. G (County contract). Candidates must achieve a

threshold score to continue forward in the hiring process. Ex. B (Nolan Decl.) ¶ 4.




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Between 2014 and 2018, 16% of Black candidates were rejected at this step,

compared to 4% of White candidates. Ex. A (Scherbaum Rep.) at 30. The disparity is

measured by about eight standard deviations. Id.

      9.   The physical abilities test requires candidates to perform 24 bent-leg sit-

ups in one minute, run 1.5 miles in 16.52 minutes, and bench press 52% of their

body weight. Ex. B (Nolan Dec.) ¶ 5. Between 2014 and 2018, 24% of Black

candidates were rejected at this step, compared to 9 percent of Whites. Ex. A

(Scherbaum Rep.) at 29. This disparity is measured by over ten standard deviations.

Id.

      10. Candidates who pass the two written exams and the physical abilities test

move on to a background investigation that includes their submission of a “personal

history questionnaire” and a meeting with an investigator. Ex. B (Nolan Dec.) ¶¶ 7-

11. The investigator collects information and creates a summary document

highlighting that information and sends the entire file to the Merit Board for the

Merit Board’s “Final Review.” Ex. B, Nolan Dec., ¶¶ 7-11; Ex. H (Decl. of John J.

Dalicandro) ¶¶ 2, 5-8. Each Board Member reviewing a file indicates their selection

preference (certify or reject) before passing the file to other Board Members,

increasing the likelihood that one Member’s discriminatory bias will influence the

outcome. Ex. C (Nolan Dep.) at 171:19-24. The Board’s Executive Director and

30(b)(6) witness is unaware of any criteria that Board Members use in making the

decision, and they do not record the reasons for their “votes.” Id. at 171, 180.




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Between 2014 and 2018, 40% of Black candidates were rejected at this step,

compared to only 14% of Whites. Ex. A (Scherbaum Rep.) at 34.

     11. Candidates who pass the Merit Board’s “Final Review” are “certified” by

the Merit Board and proceed to the next step in the hiring process which is the

CCSO’s “administrative” or “file” review step. Though it consists of two components,

the CCSO considers it a single step in the hiring process. Ex. D, Burke Dep. at 45:3-

46:7; 94:6-97:10. A polygraph examiner administers a pre-polygraph questionnaire

and then conducts a polygraph examination. Id. at 82:21-83:11. Documents from the

polygraph examiner are placed in the candidate’s file, which is then reviewed. Id. at

89:3-19. A staff member from the CCSO’s Bureau of Human Resource reviews the

files and determines whether to reject candidates. Id. at 138:20-140:12. 3 The staff

member applies a centrally prepared list of disqualification factors in making this

decision. Id. at 97:11-98:10. Between 2014 and 2018, almost 45% of Blacks were

rejected at this step, compared to 36% of Whites. Ex. A (Scherbaum Rep.) at 37. The

disparity is measured by 2.24 standard deviations. Id.

     12. Since at least 2013, the number and percentage of Black applicants hired

as Correctional Officers in Cook County has dropped off substantially. Dkt. No. 81

(Am. Compl.) ¶¶ 4-7. And throughout the class period, both the CCSO and Merit

Board were aware of racial disparities in selection rates. According to CCSO’s 2015

EEO-1 report, Black correctional officers outnumbered White officers. Ex. I (CCSO



      3 From March 2016 to the summer of 2016, the CCSO instituted a three-member
administrative review panel to review any candidate rejected by a staff member. Ex. D
(Burke Dep.) at 136:10-14; 137:4-12; 138:10-15.


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2015 EEO Report). During the 2015-18 period, however, it hired 2.5 times as many

White employees as Black employees. Ex. A (Scherbaum Rep.) In 2016, a

representative of IOS, the company that created the two written exams that are

part of the hiring process, made a presentation to CCSO staff that addressed,

among other issues, the adverse impact of the NCJOSI (first written) test. Ex. J

(Emails and IOS Presentation) at MB165, MB171-91. IOS recommended changes,

including lowering the passing score on the NCJOSI. Ex. J (IOS Presentation) at

MB191. Changes were made, but not enough to eliminate the disparate impact of

the test. Ex. A (Scherbaum Rep.) at 26.

    13. IOS also recommended that Defendants obtain “local validity evidence” to

support their use of the NCJOSI. Ex. J (IOS Presentation) at MB191. Defendants

have not done so. See Dkt. No. 142 (IOS’ Response to Pls.’ Mot. to Compel) at 10-11

(IOS stating that “there are no validation studies administered by IOS for Cook

County” and that it “did not have a local validation study for Cook County”).

    14. Defendants have also taken affirmative steps to attempt to conceal the

marked adverse impact of their hiring process. The Merit Board misrepresented to

the EEOC that it did not have any race data concerning the hiring process (after the

filing of race discrimination charges), see Ex. K (Merit Board Amended MIDP

Response) (Nolan informed two EEOC investigators in an interview “that the Merit

Board does not track racial data concerning candidate applications”), and both

Defendants misrepresented to this Court that they do not track race data

concerning candidate applications, see Ex. L (6/27/18 Tr.) at 8:12 (CCSO counsel




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stated that “we don’t have a database of” race); 9:16-19 (Merit Board counsel stated

that its applicant database “doesn’t have a subsection for marking race.”). Such race

data was in fact available and forms the bases for Plaintiffs’ adverse impact

analyses. Ex. A, Scherbaum Rep. at 14-15; see also Ex. M (Deposition of Amar Patel)

at 85-86.

     15. Each of the four named plaintiffs – Joseph D.G. Simpson, Frederick

Merkerson, Maurice Richardson, and Jonathan Harris – is Black, applied for a

correctional officer position with the CCSO, met the minimum qualifications as

reflected in their progress through the hiring process, and was rejected. Dkt. No. 81

(Am. Compl.) ¶¶ 16-19. Simpson applied four times during the period. Id. 16. He

was notified that he failed the first written test on his final attempt. Id. ¶ 27; see

also Dkt. 166 (Merit Board Ans.) ¶ 27. On one of Simpson’s earlier attempts, he

cleared all the Merit Board steps before the CCSO notified him that it had rejected

him at the polygraph and file review step. Dkt. No. 81 (Am. Comp.) ¶ 25; Dkt. No.

166 (Merit Board Ans.) ¶ 25; Dkt. No. 101 (CCSO Ans.) ¶ 25. The other three

plaintiffs similarly were rejected at one of the subjective steps, either the Merit

Board final review or the CCSO polygraph and file review step. Dkt. No. 81 (Am.

Comp.) ¶¶ 33, 45-46, 56; Dkt. No. 101 (CCOS Ans.) ¶¶ 46, 56; Dkt. No. 166 (Merit

Board Ans.) ¶ 33.

     16.    During their interviews with the Merit Board investigators or the

polygraph examiners, Simpson, Merkerson, and Richardson heard statements

reflecting employees’ beliefs about racial discrimination in the hiring process or




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employees’ negative stereotyped beliefs about Black candidates. Dkt. No. 81 (Am.

Compl.) ¶¶ 26, 30-31, 45. A deputy sheriff, who was a Merit Board investigator, told

Plaintiff Merkerson in 2015 that the Merit Board could use one of his questionnaire

answers to “fuck with [him]” and that the Board would try to “fuck [him] over,

because they’re not hiring black folks.” Id. ¶ 31. After assuring the CCSO’s

polygraph examiner that he had no gang affiliations and that his father, a

correctional officer, kept him on the right track, the examiner asked Plaintiff

Simpson, “Well, if you had to pick a gang, which one would you pick?” Id. ¶ 26.

Similarly, during Plaintiff Richardson’s polygraph examination in 2015, the

examiner charged that Richardson “must have” sold drugs and “must have” been in

a gang because he grew up in the Robert Taylor Homes, a public housing project. He

also repeatedly accused Richardson of “lying” or “concealing things.” Id. ¶ 45.

     17. Merkerson, Richardson, and Harris filed timely class charges of

discrimination with the EEOC and received right to sue letters. Dkt. No. 81 (Am.

Compl.) ¶¶ 35, 42, 50, 57. After Richardson filed his charge, CCSO informed him

that it was re-reviewing his file and then changed its decision and offered him a

correctional officer position. Id. ¶ 18, 51. He remains a correctional officer but lost

out on over a year of pay and benefits. Id. The other three plaintiffs have never been

offered correctional officer positions. Id. ¶¶ 28, 43, 58.

     18. Plaintiffs’ counsel have retained Dr. Charles Scherbaum, an

industrial/organizational psychologist who is a professor at Baruch College, City

University of New York, to analyze the data concerning the hiring process produced




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by Defendants. He has prepared a report concluding that Defendants

disproportionately selected White candidates at each of the five challenged steps

and overall in the hiring process. Ex. A. His testimony would be central to Plaintiffs’

case at trial.

                                 III. ARGUMENT

     Rule 23 imposes the following requirements before a class may be certified.

First, a class must satisfy each of the four elements of Rule 23(a), namely, that: (1)

the class is so numerous that joinder of all members is impracticable; (2) there are

questions of law or fact common to the class; (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the interests of the class.

Then, the class must also satisfy the requirements of at least one subsection of Rule

23(b).

     “By its terms,” Rule 23 “creates a categorical rule entitling a plaintiff whose

suit meets the[se] specified criteria to pursue his claim as a class action.” Shady

Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398 (2010). Here, all

elements of Rule 23(a) are satisfied, as are the requirements of Rule 23(b)(3).

Therefore, by the terms of Rule 23, a class should be certified.

         A.      The Proposed Class Satisfies the Requirements of Rule 23(a)

                 1.   The Class is more than sufficiently “numerous.”

     “‘Although there is no ‘magic number’ of class members for numerosity

purposes [under Rule 23(a)(1)], when a class numbers at least 40, joinder will be




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considered impracticable.’” Mullen v. GLV, Inc., No. 18 C 1465, 2019 WL 265080, at

*2 (N.D. Ill. Jan. 18, 2019) (quoting Hale v. AFNI, Inc., 264 F.R.D. 402, 404 (N.D.

Ill. 2009)); see Gunn v. Stevens Sec. & Training Servs., Inc., No. 17-cv-06314, 2019

WL 2502019, at *3 (N.D. Ill. June 17, 2019) (Coleman, J.) (holding that classes of 60

and 90 members satisfy numerosity requirement). Here, through 2018, the Merit

Board rejected at least 1,885 Black candidates and the CCSO rejected another 109

Black candidates. Ex. A (Scherbaum Rep.) at 23, 37. An unknown number of

additional Black candidates have been rejected since then. These numbers easily

satisfy the numerosity requirement.

             2.     The key questions, both legal and factual, are
                    overwhelmingly “common.”

     To satisfy the commonality requirement of Rule 23(a)(2), Plaintiffs must show

the existence of one “question[] of law or fact common to the class.” Fed. R. Civ. P.

23(a)(2); see Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011). “Even a single

[common] question’ will do.” Id. “‘A common nucleus of operative fact is usually

enough to satisfy’ this requirement.” Gunn, 2019 WL 2502019, at *3 (quoting Keele

v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998)). Here, at least four common questions

will “generate common answers apt to drive the resolution of the litigation.’” Yata v.

BDJ Trucking Co., No. 17-cv-03503, 2020 WL 1062332, at *4 (N.D. Ill. Mar. 5, 2020)

(Coleman, J.) (quoting Suchanek v. Sturm Foods, Inc., 764 F.3d 750, 756 (7th Cir.

2014)). Those questions are:

      The Defendants’ motives and intent: Did the Defendants choose, or
      have they chosen to stick with, their hiring process because of its
      adverse impact against Black applicants?



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      Disparate impact: Do the data establish that Black candidates are
      rejected at significantly higher rates than White candidates?

      Validity (or job relatedness): Is the Defendants’ hiring process job
      related and consistent with business necessity, notwithstanding its
      adverse impact against Black applicants? And,

      The availability of lesser discriminatory alternatives: Are there
      alternative hiring processes of substantially equal or greater
      validity that cause less disparate impact?

                    a. Whether Defendants adopted or persisted in practices
                       that hired White candidates at rates four time higher
                       than Black candidates because they disadvantaged
                       Black candidates is capable of classwide resolution.

      Plaintiffs’ disparate treatment claim raises a common question that will be

resolved based on common evidence: did Defendants intentionally adopt (or

maintain) procedures to disproportionately weed out Black applicants? In other

words, “why were African American laborers disfavored?” Zollicoffer, 335 F.R.D. at

154-55 (citing Wal-Mart, 564 U.S. at 352). Classwide evidence bearing on the

Defendants’ intent to discriminate will include: (a) statistics showing that

Defendants’ hiring procedures rejected Blacks at four times the rates of whites, Id.

at 154 (citing Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 339 n.20 (1977)

(“Statistics showing racial or ethnic imbalance are probative . . . because such

imbalance is often a telltale sign of purposeful discrimination””); see also Coates v.

Johnson & Johnson, 756 F.2d 524, 532 (7th Cir. 1985) (“The plaintiffs’ prima facie

case will thus usually consist of statistical evidence demonstrating substantial

disparities in the application of employment actions as to minorities and the

unprotected group, buttressed by evidence of general policies or specific instances of



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discrimination.”); (b) evidence of Defendants’ knowledge of that racial disparity; (c)

evidence of Defendants’ indifference to the disparity, including by their having

declined to take steps recommended to them to address it; and (d) evidence of the

ready availability of alternative hiring procedures, that would have served

Defendants’ legitimate interests equally or better, while reducing or eliminating the

adverse impact.

      In addition to statistical proof, common evidence of Defendants’ intent to

discriminate includes their decision, after being told that the first written test

disproportionately eliminated Black applicants, to adopt only modest changes

rather than taking steps to eliminate that adverse impact. See Ex. J at MB197; see

also Ex. A (Scherbaum Rep.) at 74. The misrepresentations concerning the

availability of race information to the EEOC and this Court, Exs. K, L, is also

common evidence reflecting intent.

                    b. Whether Defendants’ procedures have a disparate
                       impact on Black candidates is capable of classwide
                       resolution based on common evidence.

      Title VII disparate impact claims are resolved using a three-stage burden-

shifting framework set forth in 42 U.S.C. § 2000e-2(k):

      First, the plaintiff must produce evidence of an employment practice that

“causes a disparate impact on the basis of” a protected characteristic (e.g. race). 42

U.S.C. § 2000e-2(k)(1)(A)(i). This generally requires statistical evidence of the

disproportionate exclusion of protected group members. See Palomares v. Second

Fed. Sav. & Loan Ass’n of Chicago, No. 10 CV 6124, 2014 WL 4291795, at *2 (N.D.




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Ill. Aug. 28, 2014) (citing Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 994

(1988)). Once a disparate impact has been shown, the burden shifts to the employer

“to demonstrate that the challenged practice is job related for the position in

question and consistent with business necessity.” 42 U.S.C. § 2000e–2(k)(1)(A)(i).

“Unless and until the defendant pleads and proves a business necessity defense, the

plaintiff wins simply by showing the stated elements of a Title VII disparate impact

claim.” Lewis v. City of Chicago, 560 U.S. 205, 213 (2010). “The touchstone is

business necessity. If an employment practice which operates to exclude [minorities]

cannot be shown to be related to job performance, the practice is prohibited.” Griggs

v. Duke Power Co., 401 U.S. 424, 431 (1971); see also Albermarle Paper Co. v.

Moody, 422 U.S. 405, 426 (1975).

      Finally, even if the employer proves business necessity, in the “third step,” a

plaintiff can still prevail by identifying alternative hiring processes of substantially

equal or greater validity that cause less disparate impact. See 42 U.S.C. §2000e-

2(k)(1)(A)(ii); Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 999 (1988) (plaintiff

can still win by demonstrating that “other tests or selection devices, without a

similarly undesirable racial effect, would also serve the employer’s legitimate

interest in efficient and trustworthy workmanship.”)

      Claims that tests have disparate impact are ideal for class certification. See

Wal-Mart, 564 U.S. at 353 (“if the employer ‘used a biased testing procedure to

evaluate both applicants for employment and incumbent employees, a class action

on behalf of every applicant or employee who might have been prejudiced by the test




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clearly would satisfy the commonality and typicality requirements of Rule 23(a)’”)

(quoting General Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 159 n.15

(1982)). So too are claims that a small group of decisionmakers made subjective

decisions that disproportionately weeded out members of a protected group. See Chi.

Teachers Union, Local No. 1 v. Bd. of Educ. of Chi., 797 F.3d 426, 438-40 (7th Cir.

2015) (commonality satisfied when “a small group of decision-makers” together in a

room selected schools for “reconstitution”)

       As in all other disparate impact cases, Plaintiffs will start by using common

evidence to show that Defendants’ hiring process disproportionately excludes Black

candidates, primarily the testimony of Dr. Scherbaum. 4

       At that point, Defendants will be required to prove that, despite the racial

disparities, their hiring procedures are “job related . . . and consistent with business

necessity.” 42 U.S.C. § 2000e-2(k)(1)(A)(i). Evidence (if any) that Defendants’

processes are scientifically valid will also be common.

       Finally, even if Defendants prove that the hiring process is valid, Plaintiffs

can still prevail with evidence of less discriminatory alternatives. See Chi. Teachers

Union, Local 1 v. Bd. of Educ., 419 F. Supp. 3d 1038, 1052 (N.D. Ill. 2020). Evidence




       4 Simultaneously with their filing of their class certification motion, Plaintiffs have
filed a motion to exclude the report and testimony of Defendants’ expert, Dr. Jonathan
Guryan. (Dkt. Nos. 195, 196.) If the Court does not exclude the report, it in fact supports
the contention that Plaintiffs’ claims raise common issues. All of Dr. Guryan’s opinions and
analyses are common in nature; he does not base any analyses on the existence of multiple
decisionmakers, let alone try to show that some decisionmakers had statistically different
racial outcomes in their decisions than did other decisionmakers.


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of alternatives, such as the existence of tests of substantially equal validity that

would reduce or eliminate the adverse impact, will also be common.

             3.     The Named Plaintiffs’ claims are “typical” of the claims of
                    other class members.

      To satisfy Rule 23(a)(3)’s requirement that a class representative’s claim be

typical of those of the unnamed class members, “[a] class representative’s injuries

need not be identical to those of the class, but they must arise from the same

common events, practices, or conduct and must be based on the same legal theory.”

Washtenaw Cnty. Emps.’ Ret. Sys. v. Walgreen Co., No. 15-cv-3187, 2018 WL

1535156, at *5 (N.D. Ill. Mar. 29, 2018) (Coleman, J.) (citing Rosario v. Livaditis,

963 F.2d 1013, 1018 (7th Cir. 1992). “[P]articularized defenses that the defendant

may have against certain class members” do not defeat typicality. Id.

      Plaintiffs’ claims arise from the same “events, practices, or conduct” as the

claims of other class members. Simpson was rejected in 2016 by the CCSO following

his polygraph examination, Ex. N (Rejection Letter), and in 2017 as a result of the

Merit Board’s first written test, Dkt. No. 166 (Merit Board Ans.) ¶ 27; see also Dkt.

No. 101 (CCSO Ans.) ¶ 25. Merkerson was rejected at the Merit Board Final Review

step, Dkt. No. 166 at 33, and Richardson and Harris were rejected at CCSO’s

polygraph and administrative review step. Dkt. No. 81 (Am. Comp.) ¶¶ 45-46, 55-56;

Dkt. No. 101 (CCSO Ans.) ¶¶ 45-46, 55-56. They also assert the same disparate

impact and disparate treatment theories as the rest of the class. They thus satisfy

the typicality requirement.




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             4.     Both the Named Plaintiffs and their counsel can be
                    trusted to adequately protect the interests of all class
                    members.

     Rule 23(a)(4) requires that the Class Representatives must “fairly and

adequately protect the interests of the class.” That standard is met when the

interests of the Class Representatives are not antagonistic to the interests of other

class members; and alignment is assured when, as here, both the Class

Representatives and other class members challenge the same hiring process and

have the same interest in establishing the Defendants’ liability. Rule 23(g) also

requires the appointment of adequate counsel to represent the class. Here, Class

Counsel—from the law firms Willenson Law LLC, Mehri & Skalet, PLLC, and

Hughes Socol Piers Resnick & Dym—are highly qualified and experienced class

action lawyers. Ex. O (Willenson Decl.); Ex. P (Karsh Decl.); Ex. Q (Piers Decl.).

The requirements of Rule 23(a)(4) and 23(g) are satisfied.

      B.     The Proposed Class also Satisfies the Requirements of Rule
             23(b)(3).

     A class qualifies under Rule 23(b)(3) if “the court finds that the questions of

law or fact common to class members predominate over any questions affecting only

individual members, and that a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

Plaintiffs satisfy both these conditions.




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               1. Questions common to class members predominate over
                  questions affecting only individual members.

     The significant questions pertaining to Plaintiffs’ disparate impact and

disparate treatment claims are common, and because their answers will drive the

resolution of this litigation, they also predominate.

      To the extent individualized relief may become an issue, that will not defeat

predominance. Yata, 2020 WL 1062332, at *5. And in this case, as in other Title VII

classwide hiring discrimination cases, individualized relief is not likely to become

an issue. When, as here, the number of rejected Black candidates who met the

minimum criteria for the position far exceeds the number of “shortfall” positions

and Defendants’ actions have made it impossible to determine which of the

candidates would have been hired in the absence of discrimination, the only fair

process is to determine the amount that the underhired Black candidates would

have earned and allocate it in a fair manner among class members. In other words,

hiring opportunities, backpay, and other remedies will apply to the entire class. See,

e.g., Lewis v. City of Chicago, No. 98 C 5596 (certified class of more than 5,000

African American applicants for positions with the Chicago Fire Department,

successfully challenging a hiring process that had a disparate impact on African

American applicants, injunctive relief order provided hiring opportunities, classwide

backpay, and other remedies). This case, in which Defendants eliminated through

standardized tests and centralized subjective decisionmaking more Black

candidates than there were vacancies, presents a paradigmatic situation in which

common questions predominate over individualized ones.



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               2. A class action is superior to other methods for
                  adjudicating the matter

     Rule 23(b)(3)’s superiority requirement “is satisfied if ‘a class action would

achieve economies of time, effort, and expense, and promote . . . uniformity of

decision as to persons similarly situated, without sacrificing procedural fairness or

bringing about other undesirable results.’” Gunn, 2019 WL 2502019, at *6 (quoting

Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 615 (1997)). The rule identifies four

factors pertinent to the superiority determination. Fed. R. Civ. P. 23(b)(3). As

discussed below, each supports class certification in this case.

     1. Class members have little to no interest in filing individual lawsuits or

otherwise controlling the litigation of their claims. Even if rejected Black candidates

could obtain in an individual lawsuit the data concerning all candidates with which

to analyze whether Defendants’ hiring process disproportionately eliminated black

candidates, the cost of engaging an expert witness to analyze and report on that

information would be prohibitive relative to their individual potential recoveries.

See, e.g., In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299, 315 (N.D. Cal. 2018)

(“Litigation costs would be quite high, given that the case involves complex

technical issues and requires substantial expert testimony.”). The expense barrier

would be especially high in a situation such as this in which, as discussed above, the

number of rejected, qualified Black candidates greatly outnumber the expected

number of Black hires (the “shortfall”), making it difficult for any individual to

prove that they would have been hired but for the discrimination.




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     2. Plaintiffs are unaware of any Black applicants who have individually

challenged their rejection for the position of correctional officer with CCSO except

for Louise Monae, the plaintiff in the related case

     3. This is the desirable forum in which to concentrate class members’ claims.

All class members were harmed by the Defendants’ conduct in this district.

     4. This class case does not present unusual manageability problems. There are

substantial common issues that outweigh any individual issues. And as the Seventh

Circuit explained in Carnegie v. Household Int’l, Inc., where the requirements of

Rule 23 have otherwise been met, “a class action has to be unwieldy indeed before it

can be pronounced an inferior alternative—no matter how massive the fraud or

other wrongdoing that will go unpunished if class treatment is denied—to no

litigation at all.” 376 F.3d 656, 661 (7th Cir. 2004).

                                 III. CONCLUSION

    For all the reasons stated above, the Court should certify the Class, either as

framed in this motion or, if the Court deems adjustments necessary, with those

adjustments, and appoint undersigned counsel as Class Counsel pursuant to Rule

23(g).



   Dated: November 6, 2020               Respectfully submitted,

                                         /s/ Chirag G. Badlani
                                         One of the attorneys for Plaintiffs




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                         CERTIFICATE OF SERVICE
       I hereby certify that on November 6, 2020, I caused a copy of the foregoing

document to be served via the electronic case file system upon counsel of record for

all parties.



                                      /s/ Chirag G. Badlani
                                      One of the attorneys for Plaintiffs




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